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                 EXHIBIT 1
        Case 3:19-cv-04613-WHA Document 96-1 Filed 05/27/21 Page 2 of 4
                             CALIFORNIA DEPARTMENT OF JUSTICE
                                       BUREAU OF FIREARMS


                    CERTIFICATION OF FIREARMS PROHIBITION

 I, Angel Tuyen, do certify and attest under penalty of perjury that I am the legal custodian of
 records in the Mental Health Firearm Prohibition System maintained by the California
 Department of Justice (the Department), Bureau of Firearms. This file contains records of
 individuals lawfully prohibited from possessing, receiving, owning, or purchasing a firearm.


 On July 31, 2020, a diligent search of the Mental Health Firearms Prohibition System was
 conducted for STOKES, F:ASTON

The search revealed the following records:

                            Report Number           Date Prohibited
                            702063818               03/12/2002



I certify that the attached records are complete, true and exact copies. This certification was
prepared by personnel of the Department in the ordinary course of business on the date stated
above.




                                              ANGELTUYEN
                                              Custodian of Records
                                              Bureau of Fircanns




 CALIF~JA DEPARTMENT OF JUSTICE
     BUREAU OF FIREARMS
 COM?LETE TitUE AND CORRECT COPY

         JUL 31 2020
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California Department of Justice: Case Number - UNKNOWN                            Pag_e 2 of2
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   41-11NGTAR660 . IQ
   RE : R.QDP . CA0349425 . NRil1519750671

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                            •        END   or   MESSAGr.      *     •   *
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  CA0349459
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  NRI : 1519750671              STATUS : ACTIVE           EXPIRl\TION DATE : N/A
  !?CA: D - AD.TvDICATED OR COMMITTED MENTAL DEFECTIVE
  NAM : STOKES, EASTON
  SEX : M RAC : W
  l!GT : 000 WGT : 0 EYE : XXX HAI : XXX
  ?OB : UNKNOWN PLACE:. or BIRTH SOR : N/ A
  RTV : 0 SST : NIA
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  SMT : NIA
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  HIS : N/l,
         SST : NIA
         ,nv : N/'A
         UCN : NIA
         SID : Nil\

 ORI : CA0349418          OCA: 102942 2
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 Dl\TA- SRC : Gil.
 /:1.RI: -
 CRE'ATED- BY : CA031 9418                      CREATED- DATE :     1010212007
 U?D!\TED- BY : C.0.0 34 9418                   UPDl,T:;D- DATE :   1010212007




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  RE : QP.FCN/1860208400205                                   DATE : 2020 - 07 - 31 TlME : 14 : 36 : li

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  FCN /1 860208400205
  PHN/702063818                          TYP/M
  ENT/2                                                        NiU/1519750671
  NAM/ STOKES , E.ASTON
  SEX/M         RAC/W            :iGT/             WGT/      HA~                  POB/
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  ORI/49P00 l - SiJTTER PSYC!lIATRIC iJNIT                       OCA/1029422
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                       *     ·•     •     END OF MESSAGE            •




                                                 CONFIDENTIAL                               AG_Stokes-000002
https://leaweb.ext.doj.ca.gov/                                                                                7/31/2020
